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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


HEWLETT-PACKARD COMPANY

                  Plaintiffs,
                                                Civil Action No.: 2:07-cv-150-TJW
   v.
                                                The Honorable T. John Ward
ACER, INCORPORATED; ACER
AMERICA CORPORATION,

                  Defendants.


 ORDER GRANTING JOINT STIPULATION DISMISSING ALL CLAIMS WITHOUT
         PREJUDICE PURSUANT TO SETTLEMENT AGREEMENT


        On this day, the Court took notice of the Joint Stipulation Dismissing All Claims Without

Prejudice Pursuant To Settlement Agreement involving Plaintiff Hewlett-Packard Company and

Defendants Acer Inc. and Acer America Corporation (collectively, “the Parties”).

        Being of the opinion that this motion is meritorious, the Court hereby:

        ORDERS all asserted claims that are pending in the above-captioned action, Case No.

2:07-cv-150-TJW, be dismissed without prejudice. Each of the Parties will bear its own

attorneys’ fees, costs, and other expenses incurred in the above-captioned action to date.

        SIGNED this 23rd day of July, 2008.



                                              __________________________________________
                                              T. JOHN WARD
                                              UNITED STATES DISTRICT JUDGE




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